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UNITED STATES DISTRICT COURT DOCH: ______—.
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SOUTHERN DISTRICT OF NEW YORK DATE FILED tat -
xX .
United States of America,
ORDER
18-CR-420 (ALC)
-against-
Edwin Santana,
x

 

ANDREW L. CARTER, JR., United States District Judge:

The Sentencing scheduled for January 14, 2021 is adjourned to April 16, 2021 at
2:00 p.m.

SO ORDERED.

Dated: New York, New York

January 11, 2021 (Andree

ANDREW L. CARTER, JR.
UNITED STATES DISTRICT JUDGE

 

 
